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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re                                                   §    Chapter 11
                                                            §
    FAIRWAY ENERGY, LP, et al.,1                            §    Case No. 18-12684 (LSS)
                                                            §
                      Debtors.                              §    (Jointly Administered)

                                 NOTICE OF SUCCESSFUL BIDDER

TO ALL CREDITORS AND OTHER PARTIES IN INTEREST:

      PLEASE TAKE NOTICE that on November 26, 2018, Fairway Energy, LP, Fairway
Energy GP, LLC, and Fairway Energy Partners, LLC (collectively, the “Debtors” or “Fairway”)
commenced voluntary cases under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”).
The Chapter 11 Cases are pending in the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”).

        PLEASE TAKE FURTHER NOTICE that on January 9, 2019, the Bankruptcy Court
entered the Order (A) Authorizing and Approving Bidding Procedures in Connection with the
Sale of Substantially all of the Debtors’ Assets, (B) Approving Procedures for Determining Cure
Amounts for Executory Contracts and Unexpired Leases, (C) Approving the Form and Manner
of Notices in Connection with the Sale of Substantially all of the Debtors’ Assets and the
Assumption and Assignment of Executory Contracts and Unexpired Leases in Connection
Therewith, (D) Scheduling a Hearing on Approval of the Proposed Sale of the Debtors’ Assets,
and (E) Granting Related Relief [D.I. 141] (the “Bidding Procedures Order”). In the Bidding
Procedures Order, the Bankruptcy Court approved certain procedures (the “Bidding Procedures”)
for the sale of all or substantially all of the Debtors’ assets (collectively, the “Assets”) free and
clear of liens, claims, encumbrances and other interests, with all such liens, claims,
encumbrances and other interests attaching with the same validity and priority to the sale
proceeds, to one or more purchasers submitting the highest or otherwise best offers therefor (the
“Sale”). Please note that all capitalized terms used but not defined herein shall have the
meanings set forth in the Bidding Procedures Order.

        PLEASE TAKE FURTHER NOTICE that on February 27, 2019, the Debtors filed the
Notice of (I) Revised Bid Deadline and (II) Rescheduled Date for Auction and Sale Hearing [D.I.
239], (the “Sale Extension Notice”).

       PLEASE TAKE FURTHER NOTICE that, since the Debtors received more than one
Qualified Bid within the requirements and time frame specified by the Sale Extension Notice, the
Debtors conducted an auction (the “Auction”) to request additional competitive bids from
Qualified Bidders with respect to the Sale of the Assets which was held on Monday, March 25,

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ federal tax identification
number, include: Fairway Energy, LP (4200); Fairway Energy Partners, LLC (7914); and Fairway Energy GP, LLC
(7808). The location of the Debtors’ service address is Three Riverway, Suite 1550, Houston, Texas 77056.



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2019 at 10:30 a.m. (Central Time), at the offices of Haynes and Boone, LLP, 1221 McKinney,
Suite 2100, Houston, Texas 77010. At the conclusion of the Auction, the Debtors received one
(1) Successful Bid and three (3) Backup Successful Bids.

        PLEASE TAKE FURTHER NOTICE that the Successful Bidder for substantially all
the Debtors’ Assets (the “Assets”) is Riverstone Credit Partners-Direct, L.P. (“Riverstone”).
Attached as Exhibit A is a list of the Contracts and/or Leases that the Debtors may assume and
assign to Riverstone in connection with the closing of the Sale of the Assets. Riverstone is
continuing to review the list of Contracts and/or Leases attached as Exhibit A and may revise the
list prior to the closing of the Sale of the Assets. Riverstone has provided evidence to the
Debtors satisfactory to show its ability to perform the Debtors’ obligations under the applicable
Assumed and Assigned Contracts. The terms of the Riverstone’s Bid will be set forth in an asset
purchase agreement to be filed with the Bankruptcy Court.

        PLEASE TAKE FURTHER NOTICE that the three (3) Backup Successful Bids are as
follows:


         (a)          ExxonMobil Pipeline Company:

                      (i)    Bid per Asset Purchase and Sale Agreement, as adjusted for the Asset
                             categories included in the Backup Successful Bid.

                      (ii)   Assets included – The Assets described above in clauses (1), (2), and (5)
                             and any crude oil held in such Assets:

                             a.       Category 1. “Caverns” which is comprised of caverns, brine
                             ponds, central facilities and the pipelines located at the Pierce Junction
                             facility;

                             b.      Category 2. “Pierce Junction-Genoa Pipeline” which is comprised
                             of the pipelines from Pierce Junction to Genoa Junction;

                             c.      Category 5. “Mykawa Rights of Way” which is comprised of the
                             rights of way from the Debtors’ property at Mykawa Road, Houston,
                             Texas to Webster, Texas.

         (b)          Magellan Crude Oil Pipeline, LLC:

                      (i)    Bid per Asset Purchase and Sale Agreement, as adjusted for the Asset
                             categories included in the Backup Successful Bid.

                      (ii)   Assets included – Category 4. “Speed Pipeline” which is comprised of the
                             pipelines from Genoa Junction to Speed Junction; and any crude oil held
                             in such Assets.

         (c)          Sullivan Brothers Investments, LLC or Assigns:




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                      (i)    Bid per Asset Purchase and Sale Agreement, as adjusted for the Asset
                             categories included in the Backup Successful Bid.

                      (ii)   Assets included – Category 3. “Genoa Junction” which is comprised of
                             the interconnect agreements and the interconnect infrastructure located at
                             Genoa Junction.

        PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court has scheduled the
hearing to consider approval of the Sale of the Assets to Riverstone (the “Sale Hearing”) for
Wednesday, April 10, 2019 at 2:00 p.m. (Eastern Time) before the Honorable Laurie S.
Silverstein in the United States Bankruptcy Court for the District of Delaware, 824 Market
Street, 6th Floor, Courtroom No. 2, Wilmington, Delaware 19801. The Sale Hearing may be
adjourned by announcement in open court or on the Bankruptcy Court’s calendar without any
further notice required

        PLEASE TAKE FURTHER NOTICE that the Supplemental Objection Deadline to
object to the conduct of the Auction or the Sale of the Assets passed on 4:00 p.m. (Eastern Time)
on Tuesday, March 26, 2019; however, the Contract Counterparties may object until the date of
the Sale Hearing solely with respect to the issue of adequate assurance of future performance by
any Successful Bidder. Each objection must comply with the procedures set forth in the Bidding
Procedures Order.

       PLEASE TAKE FURTHER NOTICE that copies of the Bidding Procedures Order and
the Bidding Procedures are available (a) upon request to the Debtors’ counsel, Haynes and
Boone, LLP, 1221 McKinney, Suite 2100, Houston, Texas 77010, Attn: Patrick L. Hughes, and
Young Conaway Stargatt & Taylor, LLP, 1000 North King Street, Wilmington, Delaware 19801,
Attn: Edmon L. Morton, or (b) online at https://cases.primeclerk.com/fairwayenergy/.




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Dated: Wilmington, Delaware          HAYNES AND BOONE, LLP
       March 27, 2019                Patrick L. Hughes (admitted pro hac vice)
                                     Kelli Stephenson Norfleet (admitted pro hac vice)
                                     Martha Wyrick (admitted pro hac vice)
                                     1221 McKinney Street, Suite 2100
                                     Houston, Texas 77010
                                     Telephone: (713) 547-2000
                                     Facsimile: (713) 547-2600

                                              -and-

                                     YOUNG CONAWAY STARGATT & TAYLOR,
                                     LLP
                                     /s/ Kenneth J. Enos
                                     Edmon L. Morton (No. 3856)
                                     Kenneth J. Enos (No. 4544)
                                     Elizabeth S. Justison (No. 5911)
                                     Rodney Square
                                     1000 North King Street
                                     Wilmington, Delaware 19801
                                     Telephone: (302) 571-6600
                                     Facsimile: (302) 571-1253

                                     ATTORNEYS FOR THE DEBTORS
                                     AND DEBTORS IN POSSESSION




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                                                   Exhibit A

                                            Assumed Contracts2

    1.     Tax Abatement Agreement by and between FEP LLC and the City of Houston, Texas.

    2.      Master Service Agreement between FEP LLC and Hawkins Lease Service, Inc. entered
    into January 28, 2016.

    3.     First Extension of Master Services Agreement between FEP LLC and Hawkins Lease
    Service, Inc. entered into January 3, 2017.

    4.     Amended and Restated Pierce Junction Crude Oil Development Agreement (the “A&R
    Development Agreement”) dated as of January 22, 2014 by and between FEP LLC and USL.
    The A&R Development Agreement have been amended by those certain letter agreements by
    and between FEP LLC and USL dated March 8, 2016, April 18, 2016, February 24, 2017 and
    March 24, 2017.

    5.     Cost Reimbursement Agreement dated October 1, 2015, by and between FEP LLC and
    United Brine Services Company, LLC.

    6.     USL Lease: Storage Lease Agreement (the “Storage Lease Agreement”) executed as of
    January 22, 2014 by and between Fairway Energy Partners, LLC and Underground Storage,
    LLC (“USL”), as evidenced by that certain Memorandum of Storage Lease Agreement,
    recorded in the Harris County Real Property records on February 15, 2016 as document
    number #RP-2016-61759, as amended by that certain Amendment to Storage Lease
    Agreement dated September 8, 2016.

    7.      Stevenson Lease: Lease Agreement (“Stevenson Lease Agreement”) executed as of
    August 7, 2015 by and between Fairway Energy Partners, LLC and Beverly D. Stevenson, as
    Co-Trustee of the Barbara Thompson Stevenson Marshall Trust created by Trust Agreement
    dated February 9, 2008, and as President of Mollie Taylor Stevenson, Sr. Heirs Management,
    Inc., general partner of the Mollie Taylor Stevenson, Sr. Heirs FLP, Ltd., Ben Taye Stevenson
    Choice, Lloyd D. Choice, Christian Stevenson Winn, Co-Trustee of the Barbara Thompson
    Stevenson Marshall Trust created by Trust Agreement dated February 9, 2008, and Lauren
    Mollie Marshall, Co-Trustee of the Barbara Thompson Stevenson Marshall Trust created by
    Trust Agreement dated February 9, 2008, as evidenced by Memorandum of Lease Agreement,
    recorded in the Harris County Real Property records on August 10, 2015 as document number
    #20150359516.

    8.     Genoa Junction South Lease: Surface Site Lease Agreement executed as of October 27,
    2016 by and between Fairway Energy Partners, LLC and Enterprise Crude Pipeline LLC, as
    evidenced by Recording Memorandum of Surface Site Lease, recorded in the Harris County
    Real Property records on November 15, 2016 as document number #RP-2016-513568.

2
 Buyer may remove any Assumed Contract listed on this schedule in its sole or absolute discretion until the Closing
pursuant to Section 2.1 of the Asset Purchase and Sale Agreement.



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 9.     Letter Agreement dated effective January 1, 2019, by and between Fairway Energy
 Partners, LLC, as tenant, and DAR 3 Riverway, LP, Overland 3 Riverway, LP, Rivercan, LP
 and CFT 3 Riverway, LP, as landlord, for the office space located in Suite 1550 in Three
 Riverway, Houston, Texas 77056.

 10.     Grazing Lease by and between Fairway Energy Partners, LLC, and Erik Galvan,
 effective April 1, 2017.

 11.     Connection Agreement by and between FEP LLC and Enterprise Crude Pipeline LLC,
 effective as of February 29, 2016.

 12.   Interconnection Agreement by and between FEP LLC and Kinder Morgan Crude and
 Condensate LLC, effective as of January 29, 2016.

 13.  Connection Agreement by and between FEP LLC and Magellan Crude Oil Pipeline
 Company, L.P., effective May 23, 2017.

 14.   Reimbursement, Settlement and Release Agreement by and between FEP and
 Magellan Crude Oil Pipeline Company, L.P., effective May 23, 2017.

 15.    Electricity Sales and Purchase Agreement dated February 28, 2016, by and between
 FEP LLC and Noble Americas Energy Solutions LLC, succeeded by Calpine Energy Solutions
 LLC, and Superseding Layered Transaction Schedule effective March 29, 2018 for the year
 ended December 31, 2018. Electricity is currently being provided on a month-to-month basis.

 16.    Construction Agreement dated December 4, 2015 and Construction Agreement dated
 January 5, 2016, each between ISFI Constructors, LLC and FEP LLC.

 17.    Master Services Agreement dated March 9, 2017 by and between Puffer-Sweiven LP
 and FEP LLC.

 18.   Master Services Agreement dated February 12, 2016 by and between NewFields
 Companies, LLC and FEP LLC, as amended by the First Extension of Master Services
 Agreement dated as January 1, 2017.

 19.     Master Services Agreement dated March 20, 2017 by and between PLC Construction,
 Inc. and FEP LLC.

 20.   Contractor Agreement, including work order dated November 20, 2018, by and
 between FEP LLC and Instrumentation and Electrical Specialists.

 21.   Purchase Order dated May 25, 2018 by and between FEP LLC and Hydrologic
 Monitoring, LLC.

 22.    Services Billing Authorization dated September 22, 2017 and Purchase Order Change
 Order dated September 22, 2017 by and between FEP LLC and Korterra, Inc.




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 23.    Direct Hire Fee Schedule and Guarantee, including Work Authorization Change Order
 dated September 9, 2015, and Work Authorization Change Order dated July 9, 2018, by and
 between FEP LLC and The Rowland Group, Series LLC.

 24.  Master Services Agreement dated February 15, 2017 by and between FEP LLC and
 Comcast Cable Communications Management, LLC.

 25.    Master Services Agreement dated December 13, 2011 by and between FEP LLC and
 Gullet & Associates, Inc.

 26.    Addendum to Virtual Private Network Express Pricing Schedule 801, Products &
 Services Webpage dated March 22, 2018, AVPN Network Order dated August 31, 2016,
 Purchase Order Change Order dated September 6, 2018, and Multi-Service Agreement dated
 August 31, 2016 by and between FEP LLC and Acc Business.

 27.    Purchase Order dated October 30, 2018 by and between FEP LLC and AWC
 Incorporated.

 28.    Purchase Order Change Order dated November 28, 2017, Equipment Rental dated
 September 30, 2016, Machine Relocation Form dated June 8, 2017, and Full Service Rental &
 Supply Agreement dated September 5, 2017 by and between FEP LLC and Stewart
 Organization.

 29.   Monitoring/Installation Agreement dated June 30, 2017, and Service Order by and
 between FEP LLC and Cultris Security Systems, Inc.

 30.    Purchase Order dated September 18, 2017 by and between FEP LLC and Alvin Pest
 Control, LLC.

 31.    Service Agreement: Non-Hazardous Waste Service Summary dated December 16,
 2016 by and between FEP LLC and Waste Management of Texas, Inc.

 32.   New Service Form and Letter of Agency dated September 2, 2016 by and between FEP
 LLC and Granite Telecommunications, LLC.

 33.   Purchase Order Change Order dated August 9, 2018 by and between FEP LLC and 24
 HR Safety, LLC.

 34.    Master Crude Oil Storage and Terminal Services Agreement dated April 7, 2017, and
 Transaction Confirmation dated 09/01/2017 by and between FEP LLC and Atlantic Trading &
 Marketing, Inc.

 35.   Grant of Ingress/Egress Right-of-Way dated August 7, 2017 by and between FEP LLC
 and Ben Taye Stevenson Choice.

 36.   Grant of Ingress/Egress Right-of-Way dated August 7, 2017 2018 by and between FEP
 LLC and Beverley D. Stevenson, as Co-Trustee of the Barbara Marshall Trust.




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 37.    Grant of Ingress/Egress Right-of-Way dated August 7, 2017 by and between FEP LLC
 and Christian Stevenson Winn, Co-Trustee of the Barbara Thompson Stevenson Marshall
 Trust.

 38.       Lead Referral Agreement by and between FEP LLC and Cogent Communications.

 39.    Purchase Order Change Order (Contract 110401-9940-958) dated February 26, 2018
 by and between FEP LLC and CRT Services, LLC.

 40.   Purchase Order Change Order Contract 110401-9940-958) dated March 7, 2018 by and
 between FEP LLC and CRT Services, LLC.

 41.   Work Authorization Change Order dated January 30, 2018 by and between FEP LLC
 and Dashiell Corporation.

 42.    Direct TV Satellite Services for Business-Acct: 002062153 dated January 18, 2018 by
 and between FEP LLC and DirecTV.

 43.       Construction Agreement dated April 1, 2016 by and between FEP LLC and Duphil,
 Inc.

 44.    Master Crude Oil Storage and Terminal Services Agreement dated August 31, 2017 by
 and between FEP LLC and ExxonMobil Refining & Supply.

 45.       Purchase Order dated August 27, 2018 by and between FEP LLC and Gator Trucking.

 46.   Purchase Order Change Order (Contract ID 979799-7099-553) dated November 8,
 2017 by and between FEP LLC and Horiba Instruments, Inc.

 47.    Purchase Order Change Order (Contract ID 979701-7098-1052) dated June 29, 2018
 by and between FEP LLC and Horiba Instruments, Inc.

 48.   Customer Service and End User License Agreement dated July 18, 2018 by and
 between FEP LLC and Industrial Solutions Group, LLC.

 49.    Estimate and Software Purchase Order dated July 18, 2018 by and between FEP LLC
 and Industrial Solutions Group, LLC.

 50.       Master Services Agreement by and between FEP LLC and JTAM Engineering, LLC.

 51.   Amended and Restated Crude Oil Storage and Terminal Services Agreement dated
 March 22, 2017 by and between FEP LLC and Koch Supply & Trading LP.

 52.    Grant of Ingress/Egress Right-of-Way dated August 7, 2017 by and between FEP LLC
 and Lauren Mollie Marshall, Co-Trustee of the Barbara Thompson Stevenson Marshall Trust.

 53.    Purchase Order Change Order dated March 1, 2018 by and between FEP LLC and
 Lazer Energy Company, Inc.




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 54.    Grant of Ingress/Egress Right-of-Way dated August 7, 2017 by and between FEP LLC
 and Lloyd D. Choice.

 55.   Grant of Ingress/Egress Right-of-Way dated August 7, 2017 by and between FEP LLC
 and Mollie Taylor Stevenson, Heirs, SR, FLP, LTD.

 56.    Construction Agreement dated October 30, 2017 by and between FEP LLC and NC
 Contractors, Inc.

 57.    Service Level Agreement dated July 25, 2018 by and between FEP LLC and Nektar
 Data Systems Inc.

 58.    Billing Approval dated October 31, 2017 by and between FEP LLC and Oil Patch
 Rental Services, Inc.

 59.    Purchase Order dated February 12, 2018 by and between FEP LLC and Omega Safety
 Training, Inc.

 60.   Master Services Agreement dated March 22, 2017 by and between FEP LLC and
 Relevant Solutions, LLC.

 61.   Work Authorization ( ID 290401-7098-1028) dated May 7, 2018 by and between FEP
 LLC and Relevant Solutions, LLC.

 62.   Work Authorization (ID 110302-1600-978) dated February 8, 2018 by and between
 FEP LLC and Revenew International, LLC.

 63.   Master Services Agreement dated December 20, 2017 by and between FEP LLC and
 Revenew International, LLC.

 64.    Master Services Agreement dated May 16, 2017 by and between FEP LLC and RPM
 Services, Inc.

 65.   Master Services Agreement dated March 16, 2017 by and between FEP LLC and
 Siemens Industry, Inc.

 66.    Work Authorization Change Order (ID 290401-7098-1103) dated November 28, 2018
 by and between FEP LLC and Siemens Industry, Inc.

 67.    Master Services Agreement dated March 14, 2017 by and between FEP LLC and Solid
 State Automation.

 68.    Master Services Agreement dated January 1, 2017 by and between FEP LLC and T&L
 Lease Service Ltd.

 69.   RP 1162 Collaborative Program Proposal and Approval Purchase Order dated April 23,
 2018 by and between FEP LLC and The Paradigm Alliance, Inc.

 70.       Master Services Agreement dated October 23, 2015 by and between FEP LLC and Tiger



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 Rentals, Ltd.

 71.   Master Services Agreement dated February 10, 2017 by and between FEP LLC and X-
 Ray Locating Services, Inc.

 72.    The Contracts listed on the Notice of (I) Debtors' Request for Authority to Assume and
 Assign Certain Executory Contracts and Unexpired Leases, and (II) Debtors' Proposed Cure
 Amounts (Docket 161).

 73.   The Contracts listed on the Second Notice of (I) Debtors' Request for Authority to
 Assume and Assign Certain Executory Contracts and Unexpired Leases, and (II) Debtors'
 Proposed Cure Amounts (Docket 262)




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